Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 1 of 10   PageID 1541




             EXHIBIT 9
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 2 of 10                         PageID 1542




                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TENNESSEE
                                           EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                        )
    d/b/a WEATHER KING PORTABLE                         )
    BUILDINGS,                                          )
                                                        )
                Plaintiff,                              )
                                                        )   Civil Action No. l:22-cv-01230
    v.                                                  )
                                                        )
    JESSE A. MAUPIN, BARRY D.                           )
    HARRELL, ADRIAN S. HARROD,                          )
    LOGAN C. FEAGIN, STEPHANIE L.                       )
    GILLESPIE, RYAN E. BROWN, DANIEL                    )
    J. HERSHBERGER, BRIAN L. LASSEN,                    )
    ALEYNA LASSEN, and AMERICAN                         )
    BARN CO., LLC,                                      )
                                                        )
                Defendants.                             )



                   ALEYNA LASSEN’S RESPONSES TO PLAINTIFF’S
          FIRST SET OF INTERROGATORIES. REQUESTS FOR PRODUCTION OF
                    DOCUMENTS, AND REQUESTS FOR ADMISSION

           Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Aleyna Lassen by and through her attorneys,

   states the following responses.

                                           INTERROGATORIES

           1.         Identify each business enterprise that has been engaged in the Portable Buildings

   Industry with which you played any role in planning its creation or formation and, with respect to

   each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

   dates in which you were involved in the planning; and (c) all other individuals and entities who

   were involved in planning the creation/formation.

           RESPONSE:



   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 3 of 10                          PageID 1543




            Lassen objects to this request as being overly broad and unduly burdensome and not

   proportional to the needs of the case. This information is not relevant to any issue in the case and

   to collect it all imposes an unnecessary burden on Lassen. Subject to and without waiving those

   objections Lassen states as follows. I was involved in the formation of the following businesses:

           Arizona Barn Co., LLC - June 2022 -1 am a member and a manager.

           Promised Land Mercantile, LLC dba PLM Transport DBA Firehouse Portable Builidngs

   -2016 -1 am a member and a manager.

           2.      Other than Weather King, identify each business enterprise in the Portable

   Buildings Industry in which you have held an ownership interest and/or performed services

   (whether as an employee, an independent contractor, or in any other capacity) since January 1,

   2021, and, with respect to each such enterprise, identify: (a) your specific relationship with the

   entity, including but not limited to all titles and positions you have held; (b) the nature and extent

   of any ownership interest in the enterprise; (c) the dates of your relationship; and (d) your role and

   duties for the entity.

           RESPONSE:

           Lassen objects to this request as being overly broad and unduly burdensome and not

   proportional to the needs of the case, nor relevant to any issue in the case.         To collect this

   information imposes an unnecessary burden on Lassen. Subject to and without waiving those

   objections Lassen states as follows.:

           PLM Transport -1 am a member and manager.

           Arizona Barn Co., LLC -1 am a member and manager.

           3.      Identify each communication you have had with any person or entity (other than

   confidential communications solely with your legal counsel, your spouse, or your accountant)

                                                    -2-

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 4 of 10                         PageID 1544




           None.

            10.    Identify all email accounts, cell phone numbers (and providers), messaging

   services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

   have used at any time since January 1, 2022, through the present.

           RESPONSE:

           Harrod objects to this request as being overly broad and unduly burdensome and not

   proportional to the needs of the case.

            11.    Identify each device in your possession, custody, or control, including but not

   limited to laptop computers, desktop computers, cell phones (including number and provider),

   tablets, or other portable electronic or storage devices, that contains or contained any information

   that refers to, relates to, or was created by Weather King.

           RESPONSE:

           Lassen objects to this request as being overly broad and unduly burdensome and not

   proportional to the needs of the case nor relevant to any issue in the case. Subject to and without

   waiving those objections, Lassen states as follows: My laptop and cell phone previously contained,

   but no longer do, Weather King engineering drawings and work orders.

            12.    For each lawsuit, bankruptcy proceeding, criminal proceeding, or administrative

   proceeding, including divorce proceedings, to which you have been a party, state: (a) the court or

   agency in which said proceeding was instituted, the names of the parties to the proceeding, the

   docket number of said proceeding, the date the proceeding was filed and the date the proceeding

   was finally terminated; (b) the nature of the proceeding, including a description of the claims and

   defenses, if applicable, and (c) the manner in which the proceeding was resolved (for example, by

   settlement, by court order).

                                                   -6-

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 5 of 10                               PageID 1545




                  RESPONSE:

                  None.



                                                  VERIFICATION

                  £ Aleyna Lassen, declare under penalty of perjury that the foregoing responses to.
                                                                                *
         Plaintiffs First Set of Interrogatories are true and correct to the best ofmy knowledge, information.

         and b elief.




         68556981;1
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 6 of 10                      PageID 1546




            RESPONSE:

           None.

            6.     All correspondence and other documents exchanged with any former Weather King

   employees between January 1, 2022, and July 1, 2022.

            RESPONSE:

           None.

            7.     All correspondence and other documents exchanged with any then-current Weather

   King employees after January I, 2022.

           RESPONSE:

           None.

            8.     All correspondence and other documents exchanged with any then-current Weather

   King dealers (including but not limited to employees and agents of those dealers) between January

   1,2022, and July 1,2022.

           RESPONSE:

           None.

           9.      All correspondence and other documents exchanged with any then-current Weather

   King builders (including but not limited to employees and agents of those builders) between

   January 1, 2022, and July 1, 2022.

           RESPONSE:

           None.

            10.    All correspondence and other documents exchanged with any then-current Weather

   King customers (including but not limited to employees and agents of those customers) between

   January 1, 2022, and July 1, 2022.

                                                 -9-

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 7 of 10                      PageID 1547




           RESPONSE:

           None.

            11.    AU correspondence and other documents exchanged with any then-current Weather

   King drivers (including but not limited to employees and agents of those drivers) between January

   1,2022, and July 1,2022.

           RESPONSE:

           None.

            12.    All correspondence and other documents exchanged with any Portable Buildings

   Industry rental companies and/or rental companies being formed (including but not limited to

   employees and agents of those entities) between January 1, 2022, and July 1, 2022.

           RESPONSE:

           None.

           13.     All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

   LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

           RESPONSE:

           None.

           14.     All non-privileged correspondence and other documents related to:

           (a) any of the Defendants’ departure from Weather King;

           (b) any of the Defendants’ communications with any Weather King employees about the

           possibility of leaving Weather King or joining ABCO;

           (c) any of the Defendants’ communications with any Weather King builders, dealers,

           drivers, rental companies, or contractors, about the possibility of doing business with

           ABCO or ceasing doing business with Weather King;

                                                 - 10-

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 8 of 10                        PageID 1548




            (d) any claims or potential claims made by Weather King against any of the Defendants;

            (e) any of the Defendants’ possession of or use of any Weather King property; or

            (f) derogatory remarks made by any of the Defendants relating to Weather King;

           RESPONSE:

           None.

            15.    All correspondence and other documents exchanged with any person or entity

   related to the leasing or potential leasing of any property located in Arizona or New Mexico.

           RESPONSE:

           The only responsive document is a lease with Ash Creek Orchards, which Plaintiff already

   possesses.

            16.    All emails and attachments sent from your Weather King company email address

   to any personal email address since January 1, 2021.

           RESPONSE:

           None.

            17.    All correspondence and other documents referencing or relating to any Weather

   King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

   by Kevin Nolan, P.E.

           RESPONSE:

           None.

            18.    All documents relating to any sales of units using any Weather King drawings,

   blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

           RESPONSE:

           None.

                                                 - 11 -

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 9 of 10                        PageID 1549




           RESPONSE;

           None.

           24.     All documents evidencing distributions, salary, wages, bonuses, commissions, or

   other compensation paid or accrued to you by any entity in the Portable Buildings Industry, other

   than Weather King, from January 1, 2021, through the date of response.

           RESPONSE:

           None.

           25.     All agreements between you and any of the other Defendants.

           RESPONSE:

           None.

           26.     All agreements between you and any dealers, builders, lenders, investors, or rental

   companies in the Portable Buildings Industry.

           RESPONSE:

           None.

           27.     All photographs, video, and/or audio recordings of Weather King property and/or

   current or former Weather King employees or officers.

           RESPONSE:

           None.

           28.     All documents reflecting notes, diaries, journals, expense records, day planners,

   calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

   activities, including, but not limited to any appointment, meeting, interview, placement, or other

   business activities in the Portable Buildings Industry from January 1, 2022, through July 1, 2022.

           RESPONSE:

                                                   - 13 -

   68556981;!
Case 1:22-cv-01230-STA-jay Document 75-10 Filed 05/24/23 Page 10 of 10                        PageID
                                    1550



         Lassen objects to this request as being overly broad and unduly burdensome and not

 proportional to the needs of the case.

         29.     All correspondence and/or other documents which relate to or refer in any way to

 your decision to become affiliated with a business enterprise in the Portable Buildings Industry

 other than Weather King or to depart from Weather King.

         RESPONSE:

         Lassen objects to this request as being overly broad and unduly burdensome and not

 proportional to the needs of the case.

         30.     All phone records from January 1, 2022, through July 1,2022, related to any device

 that you have used during that time period.

         RESPONSE:

         None.

         31.     All correspondence and other documents exchanged between you and anyone else

 related to Weather King’s toll-free telephone number or Caller ID.

         RESPONSE:

         None.

         32.     All documents supporting your “[m]istake of fact” affirmative defense.

         RESPONSE:

         None.

         33.     All documents supporting or relating to any other defenses you intend to assert

 against Plaintiffs claims.

         RESPONSE:

         None.

                                                - 14-

 68556981;!
